        Case 2:18-cv-06091-GW-SK Document 10 Filed 08/20/18 Page 1 of 1 Page ID #:34

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                        CentralDistrict
                                                    __________  Districtof of California
                                                                           __________

                     Pretty in Plastic, Inc.                        )
                                                                    )
                                                                    )
                                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                          Civil Action No. 2:18-cv-6091-GW-SK
                                                                    )
                    Maryellis Bunn,                                 )
         1AND8 Inc., dba Museum of Ice Cream                        )
                                                                    )
                                                                    )
                           Defendant(s)                             )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Maryellis Bunn, 1AND8 Inc.




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Connor Lynch
                                           Lynch LLP
                                           4470 W. Sunset Blvd. No. 90096
                                           Los Angeles, CA 90027
                                           connor@lynchllp.com

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              CLERK OF COURT


Date:
                                                                                           Signature of Clerk or Deputy Clerk
